            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION

                            CIVIL NO. 1:05CV207
                                 (1:03CR95)


DAVID A. KELLEY                      )
                                     )
                  Petitioner,        )
                                     )
            Vs.                      )           JUDGMENT
                                     )
UNITED STATES OF AMERICA,            )
                                     )
                  Respondent.        )
                                      )


      For the reasons set forth in the Memorandum and Order filed herewith,

      IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that the

Petitioner’s motion pursuant to 28 U.S.C. § 2255 is DENIED, and this matter

is hereby DISMISSED WITH PREJUDICE in its entirety.

      Petitioner is hereby placed on notice that no future petition pursuant to

28 U.S.C. § 2255 may be filed without permission of the United States Court

of Appeals for the Fourth Circuit.




      Case 1:03-cr-00095-LHT    Document 47    Filed 12/09/05   Page 1 of 2
                               2



                  Signed: December 9, 2005




Case 1:03-cr-00095-LHT   Document 47   Filed 12/09/05   Page 2 of 2
